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 DISTRICT COURT, DENVER COUNTY, COLORADO
 1437 Bannock St.
 Denver, CO 80202                       DATE FILED
                                                July 31, 2024 9:34 AM
 Plaintiff:                                     FILING ID: 460380E775521
                                                CASE NUMBER: 2024CV32321

 VICTOR MOSES,
 v.
 Defendants:

 CITY AND COUNTY OF DENVER, COLORADO,
 DENVER HEALTH AND HOSPITAL AUTHORITY,
 TODD GENTRY, individually.
 STEPHEN MARINO, individually;
 ANTHONY NORMAN, individually;
 FELIPE CERVANTES, individually;
 KYLE CARTER, individually;
 JOHANNA AITKEN, individually;
 LISA AITKEN-NELSON, individually;
 JASON MOORE, individually;
 DAMON ROMAN, individually;                            COURT USE ONLY
 E. M. ALFARO, individually;                            _________________
 BRIAN CAMOZZI, individually;
                                                       Case No.: 2024CV032321
 COURTNEY WHAM, individually;
 TAEGIN SUNG, individually.

 Plaintiff’s Counsel:

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                             NOTICE OF ENTRY OF APPEARANCE

       Darold W. Killmer of the law firm of KILLMER LANE, LLP, an attorney duly licensed

to practice in the State of Colorado, hereby enters his appearance on behalf of the Plaintiff,

Victor Moses.

       DATED this 31st day of July 2024.

                                              KILLMER LANE, LLP

                                              /s/ Darold W. Killmer
                                              _______________________
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